Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 1 of 51 Page ID #:1


 1 G. ROXANNE ELINGS (pro hac vice pending)
     roxanneelings@dwt.com
 2 DAVIS WRIGHT TREMAINE LLP
   1251 Avenue of the Americas
 3 New York, New York 10020
   Telephone: (212) 489-8230
 4 Facsimile: (212) 489-8340
 5 ADAM S. SIEFF (CA Bar No. 302030)
     adamsieff@dwt.com
 6 DAVIS WRIGHT TREMAINE LLP
   865 South Figueroa Street, 24th Floor
 7 Los Angeles, California 90017
   Telephone: (213) 633-6800
 8 Facsimile: (213) 633-6899
 9 Attorneys for Plaintiffs
   GARAN, INC. and GARAN SERVICES CORP.
10
11                      UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
14 GARAN, INC. and GARAN SERVICES Case No.
   CORPORATION,
15                                COMPLAINT FOR:
                    Plaintiffs,
16                                  (1) Trademark Dilution in
       vs.                              Violation of 15 U.S.C.
17                                      § 1125(c);
   GHOST MANAGEMENT GROUP, LLC;     (2) Contributory Trademark
18 WEEDMAPS MEDIA, LLC dba              Dilution in Violation of 15
   WEEDMAPS,                            U.S.C. § 1125(c);
19
                    Defendants.     (3) Trademark Dilution in
20                                      Violation of Cal. Bus. & Prof.
                                        Code § 14247;
21                                  (4) Unfair Competition in
22                                      Violation of Cal. Bus. & Prof.
                                        Code §§ 17200, et seq.
23
24                                             JURY TRIAL DEMANDED

25
26
27
28
                                           1                DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                  865 S. FIGUEROA ST, SUITE 2400
                                                             LOS ANGELES, CALIFORNIA 90017-2566
                                                                        Tel: (213) 633-6800
                                                                        Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 2 of 51 Page ID #:2


 1         Plaintiffs Garan, Inc. and Garan Services Corp. (collectively, “Garan” or
 2 “Plaintiffs”), for their complaint against defendants Ghost Management Group, LLC
 3 and Weedmaps Media, LLC dba Weedmaps (“Defendants”), allege as follows:
 4                           PRELIMINARY STATEMENT
 5         1.    The GARANIMALS brand has been a fixture in American culture since
 6 the early 1970s, when Garan first coined the fanciful and arbitrary GARANIMALS
 7 trademark. GARANIMALS was founded on a simple but unique concept: to help
 8 parents affordably dress their young children in comfortable clothing that is easy to
 9 mix and match. The GARANIMALS brand is sold through more than 4,700 Walmart
10 stores across the United States, where 90 percent of the population resides within 10
11 miles of a Walmart store.
12         2.    Garan discovered that sellers on Defendants’ website platform are
13 infringing the GARANIMALS Marks by using the fanciful and arbitrary
14 GARANIMALS trademark to advertise, promote, distribute, import/export, offer for
15 sale and/or sell cannabis-derived goods under a “Garanimals” name (the “Infringing
16 Products”). These products are illegal for most uses in most states.
17         3.    By recent count, Defendants’ website platform contains and promotes at
18 least 87 listings for “Garanimals” cannabis products sold by cannabis dispensaries
19 in California.
20         4.    On August 14, 2020, counsel for Garan sent Defendants a cease and
21 desist letter notifying Defendants that its advertisement and promotion of the
22 Infringing Products bearing the GARANIMALS Marks, or any variations thereof,
23 tarnishes Garan’s goodwill and reputation—as well as the innocent and wholesome
24 nature associated with the GARANIMALS brand (which is child and family
25 friendly)—and also blurs and weakens the public’s association of the
26 GARANIMALS brand and GARANIMALS Marks with GARANIMALS products.
27 Attached hereto as Exhibit 1 is a true and correct copy of Garan’s demand letter to
28 Defendants, dated August 14, 2020, with images of the Infringing Products.
                                             2                    DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                        865 S. FIGUEROA ST, SUITE 2400
                                                                   LOS ANGELES, CALIFORNIA 90017-2566
                                                                              Tel: (213) 633-6800
                                                                              Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 3 of 51 Page ID #:3


 1         5.    Defendants’ unlawful advertisement and promotion of the Infringing
 2 Products has impaired—and continues to impair—the distinctive character and
 3 reputation of the GARANIMALS Marks in violation of, inter alia, Section 43(c) of
 4 the Lanham Act, 15 U.S.C. §1125(c), and various state and common laws.
 5         6.    Garan has suffered actual damages as a result of Defendants’ acts, and
 6 unless Defendants are enjoined, will continue to suffer the same. Garan accordingly
 7 files this action pursuant to Section 43(c)(1) and 15 U.S.C. § 1125 (c)(1) to enjoin
 8 and recover damages and restitution from Defendants’ unpermitted use of the
 9 GARANIMAL trademark in connection with the sale of cannabis and cannabis-
10 related products.
11                                       PARTIES
12         7.    Plaintiff Garan, Incorporated is a corporation organized and existing
13 under the laws of the State of Delaware, with its principal place of business located
14 at 200 Madison Avenue, New York, New York 10016.
15         8.    Plaintiff Garan Services Corporation is a wholly owned subsidiary of
16 Garan, Incorporated and is organized and existing under the laws of the State of
17 Delaware, with its principal place of business located at 200 Madison Avenue, New
18 York, New York 10016.
19         9.    Defendant Ghost Management Group, LLC is a Delaware entity
20 registered to do business in California. Ghost Management Group, LLC’s principal
21 place of business is 41 Discovery, Irvine, California 92618.
22         10.   Defendant Weedmaps Media, LLC d/b/a Weedmaps is a Delaware
23 entity registered to do business in California. Weedmaps’ principal place of business
24 is 41 Discovery, Irvine, California 92618.
25
26
27
28
                                             3                    DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                        865 S. FIGUEROA ST, SUITE 2400
                                                                   LOS ANGELES, CALIFORNIA 90017-2566
                                                                              Tel: (213) 633-6800
                                                                              Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 4 of 51 Page ID #:4


 1                              JURISDICTION AND VENUE
 2         11.    The Court has subject matter jurisdiction over this action pursuant to 28
 3 U.S.C. § 1331, 28 U.S.C. § 1338(a), 28 U.S.C. § 1338(b), 15 U.S.C. § 1121(a), and
 4 28 U.S.C. § 1367.
 5         12.    This Court has personal jurisdiction over Defendants because
 6 Defendants conduct business in this district and jurisdiction. Personal jurisdiction is
 7 also proper over Defendants because Defendants distribute, manufacture, advertise,
 8 promote, market, offer for sale and sell cannabis goods under the infringing
 9 GARANIMAL Mark and otherwise conduct business in California, including in this
10 judicial district, resulting in injury to Garan in California, including in this district.
11         13.    Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) because,
12 among other reasons, a substantial part of the events giving rise to the claims alleged
13 occurred in this district and further, on information and belief, Defendants transact
14 business within this district and distribute, manufacture, advertise, promote, market,
15 offer for sale and sell goods in this district in a manner that dilutes and tarnishes
16 Garan’s trademark rights. Venue is also proper pursuant to 28 U.S.C. § 1391(d), as
17 Defendant’s contacts with this district would be sufficient to establish personal
18 jurisdiction within this district were it its own state.
19                         FACTS COMMON TO ALL CLAIMS
20         A.     The Garanimals Brand
21         14.    The GARANIMALS brand has been a fixture in American culture since
22 the early 1970s, when Garan first coined the fanciful and arbitrary trademark. Since
23 then, Garan has continuously used GARANIMALS alone or in combination with
24 other words and/or designs, many of which are federally registered (collectively, the
25 “GARANIMALS Marks”) to distribute, market, advertise, promote, offer for sale
26 and/or sell children’s apparel, including hosiery, undergarments, outerwear and
27 sleepwear; footwear; headwear, including hats and caps; books; bedding; games and
28
                                                 4                     DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                             865 S. FIGUEROA ST, SUITE 2400
                                                                        LOS ANGELES, CALIFORNIA 90017-2566
                                                                                   Tel: (213) 633-6800
                                                                                   Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 5 of 51 Page ID #:5


 1 toys (including “plush”, bath, and learning toys) (“GARANIMALS Products”) to
 2 parents and grandparents for use by their children and grandchildren.
 3         15.   The GARANIMALS brand quickly gained recognition for its innovative
 4 system of using animal hang-tags to help with the selection of clothes at the point-of-
 5 sale and sewn-in animal labels to assist children with mixing and matching tops and
 6 bottoms.
 7         16.   The brand loyalty that GARANIMALS first cemented in the 1970s and
 8 1980s has persisted over several generations as children and grandchildren who grew
 9 up wearing GARANIMALS Products now buy GARANIMALS Products for their
10 own children and grandchildren.
11         17.   Now, close to fifty years since its inception, GARANIMALS is one of
12 the most famous trademarks in the United States. This is in large part due to Garan’s
13 significant investment in the national distribution, promotion and advertisement of
14 the GARANIMALS brand and the uniqueness of the GARANIMALS tagging system
15 which led to its ubiquitous place in the American vocabulary.
16         18.   Since 2007, Garan has invested tens of millions of dollars to market and
17 advertise the GARANIMALS brand. Garan has consistently marketed the
18 GARANIMALS brand on multiple platforms such as mail, print (Parents, American
19 Baby and People en Español), television (network and cable channels including ABC
20 Family, Animal Planet, Discovery, MTV, Bravo, Fuse, WE, VH1, CMTV, E!,
21 Lifetime, POP and 23 Spanish-language networks such as Univision, Telemundo, and
22 ESPNDeportes), and social media (Facebook, Instagram and YouTube).
23         19.   The GARANIMALS Products are frequently featured on Walmart’s
24 social media accounts as well as its own. In 2019, Garan’s Facebook advertising
25 around the GARANIMALS brand reached more than 10 million people and resulted
26 in more than 35 million impressions (i.e., the number of people reached through
27 additional engagement).
28
                                              5                    DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                         865 S. FIGUEROA ST, SUITE 2400
                                                                    LOS ANGELES, CALIFORNIA 90017-2566
                                                                               Tel: (213) 633-6800
                                                                               Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 6 of 51 Page ID #:6


 1         20.   Today, GARANIMALS is sold through Walmart, the largest retailer in
 2 the United States, with over 4,700 stores nationwide and through its website
 3 (walmart.com). GARANIMALS is also marketed through the GARANIMALS
 4 website at www.garanimals.com (where the consumer is redirected to the Walmart
 5 website).
 6         21.   GARANIMALS popularity has translated into significant retail sales of
 7 more than $4,000,000,000 during the last five years alone, representing a significant
 8 market share.
 9         22.   Based on the longevity in popularity and success of GARANIMALS, it
10 is no surprise that the brand is an integral part of American culture and enjoys a high
11 degree of recognition nationally.
12         23.   As an example, the NPD Group, a market research company, recently
13 found that the GARANIMALS brand ranks second in brand awareness among the
14 general adult population in connection with children’s clothing brands, ahead of
15 vertically integrated competitors with their own brick and mortar stores such as Old
16 Navy, Children’s Place and Baby Gap.
17         24.   GARANIMALS popularity and fame is reflected by the high degree of
18 unsolicited media attention it has received, including at The Academy Awards Show,
19 The Tonight Show with Jimmy Fallon, Saturday Night Live, Glee, Shameless, and in
20 connection with news stories covering everything from fashion to pop culture to
21 politics, as reported in The Wall Street Journal, Newsweek, Entertainment Weekly,
22 The Washington Post, GQ and The New York Times. GARANIMALS has been
23 connected to and/or mentioned by prominent American cultural figures, including
24 President Joe Biden, and celebrities Ryan Seacrest, Ryan Gosling, Zach Galifianakis,
25 and Bryan Cranston; become synonymous with a system of mixing and matching
26 separates; been credited as the inspiration for many fashion start-ups and trends;
27 mentioned in several books and featured in at least one book on popular culture, From
28 ABBA to Zoom: A Pop Culture Encyclopedia of the Late 20th Century, by David
                                              6                    DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                         865 S. FIGUEROA ST, SUITE 2400
                                                                    LOS ANGELES, CALIFORNIA 90017-2566
                                                                               Tel: (213) 633-6800
                                                                               Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 7 of 51 Page ID #:7


 1 Mansaur; featured in the award-winning and iconic Dilbert comic strip; featured in
 2 the NY Times crossword puzzle; and, on a plethora of other occasions, has been the
 3 subject of various political and other popular and well-known internet memes.
 4         25.   Because of its longevity of continuous use, extensive advertising,
 5 nationwide distribution, and high volume of sales of GARANIMALS Products,
 6 GARANIMALS Marks are famous and widely recognized by consumers throughout
 7 the United States. Accordingly, the GARANIMALS Marks enjoys substantial
 8 recognition and goodwill.
 9         B.    The Garanimals Marks
10         26.   In addition to being famous, the GARANIMALS Marks are distinctive.
11         27.   The GARANIMALS Marks are coined, fanciful and arbitrary, and many
12 of the GARANIMALS Marks are registered under Section 2(f), indicating that the
13 GARANIMALS Marks have achieved acquired distinctiveness.
14         28.   Garan holds trademark applications and registrations for the
15 GARANIMALS Marks throughout the world, more than 30 in the United States
16 alone, including GARANIMALS, GARANIMAL, GARANIMALS EVERYDAY,
17 GARANIMALS READING ZOO, 365 KIDS FROM GARANIMALS. See Exhibit
18 2. Garan’s earliest trademark registrations date from the 1970s and 1980s, and
19 include additional applications from as recently as 2020.
20         29.   Many of Garan’s federal registrations of its GARANIMALS Marks are
21 incontestable within the meaning of Section 15 of the Lanham Act, 15 U.S.C. § 1065,
22 and constitute conclusive evidence that the marks are valid and that Garan is entitled
23 to exclusive use of the GARANIMALS Marks in commerce throughout the United
24 States in connection with the goods related thereto.
25         C.    Defendant’s Unlawful Activities
26         30.   Decades after the GARANIMALS marks acquired their distinction and
27 fame, Defendant began to promote and advertise—and continues to promote and
28 advertise—the GARANIMALS Marks in connection with the commercial
                                              7                   DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                        865 S. FIGUEROA ST, SUITE 2400
                                                                   LOS ANGELES, CALIFORNIA 90017-2566
                                                                              Tel: (213) 633-6800
                                                                              Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 8 of 51 Page ID #:8


 1 distribution and sale of cannabis and cannabis-related products in markets within the
 2 State of California, including counties located within this judicial district.
 3         31.    Defendants have capitalized on the strength and fame of the
 4 GARANIMALS Marks by advertising and promoting cannabis and cannabis-related
 5 goods bearing the GARANIMALS Marks to consumers via its website platform.
 6         32.    Upon and information and belief, Defendants promote and advertise the
 7 Infringing Products bearing the GARANIMALS Marks and/or confusingly similar
 8 marks, to consumers.
 9         33.    Defendants’ promotion and advertisement of GARANIMALS Marks in
10 connection with cannabis products tarnishes and blurs, and thus dilutes, the
11 GARANIMALS brand. The GARANIMALS brand is a wholesome, family-oriented
12 children’s brand. Consumers associate GARANIMALS-branded products—which
13 can be mixed, matched, and collected—with the playful, whimsical innocence of
14 childhood. The value of a GARANIMALS product, as distinguished from other
15 children’s clothes and toys, derives from these associated feelings and impressions,
16 as well as the memories GARANIMALS have made with American consumers
17 across their lives during the past 50 years. GARANIMALS relies upon these
18 connections to market and sell products, and to develop new products that will appeal
19 to these same sentiments and establish future generations of loyal customers.
20         34.    By impermissibly promoting cannabis-derived products that are
21 controversial and in some cases illegal, Defendants tarnish and damage the reputation
22 of the GARANIMALS brand by affiliating it with products and conduct that are
23 inconsistent with the wholesome, playful, innocent, and family-friendly sentiments
24 that underlie the GARANIMALS brand, and that provide GARANIMALS products
25 with a significant portion of their market value.
26         35.    Defendants’ promotion and advertisement of cannabis and cannabis-
27 derived goods bearing the GARANIMALS Marks also harms Garan by multiplying
28 the meanings associated with the GARANIMALS Marks, and, as a result, weakening
                                               8                     DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                           865 S. FIGUEROA ST, SUITE 2400
                                                                      LOS ANGELES, CALIFORNIA 90017-2566
                                                                                 Tel: (213) 633-6800
                                                                                 Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 9 of 51 Page ID #:9


 1 the GARANIMALS Marks’ ability to evoke their original associations. Consumers
 2 who become familiar with “Garanimals” as a cannabis-related product will less
 3 readily associate the GARANIMALS Marks with the GARANIMALS brand of
 4 children’s apparel and toys, and the sentiments that Garan relies upon to market and
 5 sell its products. In these respects, Defendants’ promotion impairs the distinctiveness
 6 of the GARANIMALS Marks, diminishing the value of Garan’s interests in the
 7 GARANIMALS Marks, and causing Garan to suffer lost revenues and other
 8 damages.
 9                              FIRST CLAIM FOR RELIEF
10                                 (Trademark Dilution)
                                    15 U.S.C. § 1125(c)
11
           36.    Garan realleges and incorporates by reference the allegations in
12
     paragraphs 1 through 35, as if set forth fully herein.
13
           37.    Because of the high degree of distinctiveness of the GARANIMALS
14
     Marks, the nearly fifty years of continuous use of the GARANIMALS Marks by
15
     Garan, the vast publicity the GARANIMALS Marks has received, the extent to which
16
     the GARANIMALS Marks is used nationally and the high degree of consumer
17
     recognition of the GARANIMALS Marks, the GARANIMALS Marks is and has
18
     become famous pursuant to 15 U.S.C. § 1125(c).
19
           38.    Garan’s use of GARANIMALS began at least as early as 1972, when
20
     Garan registered the first of the GARANIMALS Marks.
21
           39.    Defendants’ unlawful promotion and advertisement of cannabis and
22
     cannabis-derived products bearing the GARANIMALS Marks tarnishes Garan’s
23
     goodwill and reputation associated with the GARANIMALS brand as child and
24
     family friendly. Defendants’ unpermitted use of the GARANIMALS Marks, in
25
     connection with cannabis products, also weakens the GARANIMALS Marks’ ability
26
     to evoke their original associations, and thus blurs their meaning.
27
28
                                                9                   DAVIS WRIGHT TREMAINE LLP
     COMPLAINT                                                           865 S. FIGUEROA ST, SUITE 2400
                                                                      LOS ANGELES, CALIFORNIA 90017-2566
                                                                                 Tel: (213) 633-6800
                                                                                 Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 10 of 51 Page ID #:10


  1         40.    Garan accordingly has been and will continue to be damaged by
  2 Defendant’s use of the GARANIMALS Marks.
  3         41.    Garan is entitled to recover damages as provided by Section 35(a) of the
  4 Lanham Act, 15 U.S.C. § 1117(a) and is further entitled to injunctive relief under 15
  5 U.S.C. § 1116(a) to prevent Defendant’s use of the GARANIMALS Marks in
  6 connection with cannabis and cannabis-related goods.
  7                            SECOND CLAIM FOR RELIEF
  8                           (Contributory Trademark Dilution)
                                      15 U.S.C. § 1125(c)
  9
            42.    Garan realleges and incorporates by reference the allegations in
 10
      paragraphs 1 through 41, as if set forth fully herein.
 11
            43.    Upon information and belief, Defendants’ promotion, advertisement,
 12
      and sourcing of the Infringing Products bearing the GARANIMALS Marks and/or
 13
      confusingly similar marks that it knew would be offered for sale or sold in the United
 14
      States to customers, materially contributed to the dilution and likely dilution of the
 15
      GARANIMAL Marks by lessening consumer’s ability to distinguish Garan
 16
      exclusively as the source for products bearing or provided under the GARANIMAL
 17
      Marks.
 18
            44.    Defendants have materially assisted sellers on its website platform’s
 19
      trademark dilution by its advertisement, promotion, sourcing, sale, and/or supply of
 20
      the Infringing Products to consumers.
 21
            45.    Upon information and belief, Defendants have earned, or will earn,
 22
      profits as a direct result of third-party users’ unauthorized use of the GARANIMAL
 23
      Marks.
 24
            46.    As a direct result of the willful and wanton conduct of Defendants,
 25
      Garan has been injured and will continue to suffer damages in this District, the State
 26
      of California and throughout the United States in an amount unknown at present and
 27
      to be determined at trial.
 28
                                                10                   DAVIS WRIGHT TREMAINE LLP
      COMPLAINT                                                          865 S. FIGUEROA ST, SUITE 2400
                                                                      LOS ANGELES, CALIFORNIA 90017-2566
                                                                                 Tel: (213) 633-6800
                                                                                 Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 11 of 51 Page ID #:11


  1         47.    As a direct and proximate result thereof, Garan is entitled to injunctive
  2 relief enjoining and restraining Defendants from use of the GARANIMALS Marks
  3 connection with cannabis and cannabis-related goods.
  4                            THIRD CLAIM FOR RELIEF
                        (Trademark Dilution under California Law)
  5
                       California Business & Professions Code § 14247
  6         48.    Garan realleges and incorporates by reference the allegations in
  7 paragraphs 1 through 47, as if set forth fully herein.
  8       49. The GARANIMALS Marks are widely recognized by the general
  9 consuming public of this state, or by a geographic area of this state, as a designation
 10 of source of the goods or services of the mark’s owner.
 11        50. Defendants have promoted and advertised the GARANIMALS Marks
 12 as an ornament, decoration, garnishment, or embellishment on or in connection with
 13 cannabis or cannabis-related products, for the purpose of enhancing the commercial
 14 value of, or selling or soliciting purchases of, cannabis and/or cannabis-related
 15 products, without the prior consent of Garan.
 16       51. Garan is entitled to an injunction against Defendants’ commercial use of
 17 the GARANIMALS Marks pursuant to California Business and Professions Code
 18 § 14247(b).
 19
 20                           FOURTH CLAIM FOR RELIEF
 21                            (California Unfair Competition)
                       California Business & Professions Code § 17200
 22
            52.    Garan realleges and incorporates by reference the allegations in
 23
      paragraphs 1 through 51, as if set forth fully herein.
 24
            53.    Defendants’ unpermitted use of the GARANIMALS Marks to market,
 25
      sell, and/or distribute cannabis-related products constitutes a business practice
 26
      pursuant to California Business and Professions Code § 17200.
 27
 28
                                                11                   DAVIS WRIGHT TREMAINE LLP
      COMPLAINT                                                          865 S. FIGUEROA ST, SUITE 2400
                                                                      LOS ANGELES, CALIFORNIA 90017-2566
                                                                                 Tel: (213) 633-6800
                                                                                 Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 12 of 51 Page ID #:12


  1         54.   Defendants’ unpermitted use of the GARANIMALS Marks to market,
  2 sell, and/or distribute cannabis-related products violates federal and state trademark
  3 laws, as alleged above.
  4         55.   Defendants’ unpermitted use of the GARANIMALS Marks to market,
  5 sell, and/or distribute cannabis-related products has diminished the value of Garan’s
  6 interests in the GARANIMALS Marks, and caused Garan to suffer lost revenues.
  7         56.   Garan is accordingly entitled to restitution, injunctive relief, and
  8 attorneys’ fees.
  9                                PRAYER FOR RELIEF
 10         WHEREFORE, Garan prays for entry of judgment ordering that:
 11         1.    Defendants have diluted by tarnishment and blurring Plaintiffs’ famous
 12 GARANIMALS Marks under § 43(c)(1) of the Federal Trademark Act, 15 U.S.C.
 13 § 1125(c)(1), as well as California Business and Professions Code § 14247.
 14         2.    Defendants’ conduct is an unlawful business practice prohibited by
 15 California Business and Professions Code § 17200.
 16         3.    Defendants and each of its agents, employees, servants, attorneys,
 17 successors and assigns, and all others in privity or acting in concert therewith, shall
 18 be preliminarily and permanently enjoined from using, advertising, or promoting any
 19 trademark, service mark, corporate name, domain name or other commercial
 20 indication of origin that consists of or incorporates the GARANIMALS Marks or any
 21 other trademark, service mark, corporate name, or other commercial indication of
 22 origin that tarnishes, blurs, or diminishes the distinctive quality of the famous
 23 GARANIMALS Marks, or is otherwise contrary to law.
 24         4.    Defendants shall be required to account for and pay monetary damages,
 25 including restitution, in amounts to be proven at trial.
 26         5.    Plaintiffs shall be awarded their costs and attorneys’ fees incurred in this
 27 action, along with any other relief that the Court deems just and proper.
 28
                                               12                     DAVIS WRIGHT TREMAINE LLP
      COMPLAINT                                                           865 S. FIGUEROA ST, SUITE 2400
                                                                       LOS ANGELES, CALIFORNIA 90017-2566
                                                                                  Tel: (213) 633-6800
                                                                                  Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 13 of 51 Page ID #:13


  1                             DEMAND FOR JURY TRIAL
  2         Pursuant to Federal Rule of Civil Procedure 38(b), Garan demands a trial by
  3 jury of all the issues so triable.
  4
      DATED: December 3, 2021               DAVIS WRIGHT TREMAINE LLP
  5
                                            By: /s/ Adam S. Sieff
  6                                                 Adam S. Sieff
  7                                               Attorneys for Plaintiffs
                                                  GARAN, INC. and
  8                                               GARAN SERVICES CORP.
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                                             13                  DAVIS WRIGHT TREMAINE LLP
      COMPLAINT                                                        865 S. FIGUEROA ST, SUITE 2400
                                                                    LOS ANGELES, CALIFORNIA 90017-2566
                                                                               Tel: (213) 633-6800
                                                                               Fax: (213) 633-6899
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 14 of 51 Page ID #:14




                         EXHIBIT 1
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 15 of 51 Page ID #:15
                                                                         21st Floor
                                                                         1251 Avenue of the Americas
                                                                         New York, NY 10020-1104

                                                                         G. Roxanne Elings
                                                                         (212) 603-6416 tel
                                                                         (212) 379-5226 fax

                                                                         roxanneelings@dwt.com




                                             August 14, 2020




 Via Overnight Mail
 and email (clientsuccess@weedmaps.com)

 Brian Camire, General Counsel
 Weedmaps Media Inc.
 1300 Dove Street, Suite 100
 Newport Beach, CA 92660

 Ghost Management Group, LLC
 41 Discovery
 Irvine, CA 92618

        Re:    Notice of Violations of the GARANIMALS Marks

 Mr. Camire:

       We are counsel for Garan, Incorporated and Garan Services Corporation (collectively,
 “Garan”) in connection with its intellectual property matters.

        Garan was founded in 1941 and has today become a worldwide leader in the design,
 manufacture, distribution, marketing, and promotion of children’s apparel, including hosiery,
 undergarments, outerwear and sleepwear; footwear; headwear, including hats and caps; books;
 bedding; games and toys (including “plush”, bath and learning) (“GARANIMALS Products”)
 under the trademarks GARANIMALS alone or in combination with other words and/or designs,
 including GARANIMALS, GARANIMAL, GARANIMALS EVERYDAY, GARANIMALS
 READING ZOO, and 365 KIDS FROM GARANIMALS (collectively, the “GARANIMALS
 Marks”).

         Many of Garan’s federal registrations for the GARANIMALS Marks are incontestable
 within the meaning of Section 15 of the Lanham Act, 15 U.S.C. § 1065, and constitute
 conclusive evidence that the marks are valid and that Garan is entitled to exclusive use of the
 GARANIMALS Marks in commerce throughout the United States in connection with the goods
 related thereto.
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 16 of 51 Page ID #:16

 August 14, 2020
 Page 2


         The brand loyalty that GARANIMALS first cemented in the 1970s and 1980s has
 persisted over several generations as children and grandchildren who grew up wearing
 GARANIMALS Products now buy GARANIMALS Products for their own children and
 grandchildren. Now, close to fifty years since its inception, GARANIMALS is one of the most
 famous trademarks in the United States. This is in large part due to Garan’s significant
 investment in the national distribution, promotion and advertisement of the GARANIMALS
 brand and the uniqueness of the GARANIMALS tagging system which led to its ubiquitous
 place in the American vocabulary.

         Since 2007, Garan has invested tens of millions of dollars to market and advertise the
 GARANIMALS brand. In the last five years alone, Garan has expended in excess of 35 million
 dollars on marketing and advertising. Garan has consistently marketed the GARANIMALS
 brand on multiple platforms such as mail, print (Parents, American Baby and People en
 Español), television (network and cable channels including ABC Family, Animal Planet,
 Discovery, MTV, Bravo, Fuse, WE, VH1, CMTV, E!, Lifetime, POP and 23 Spanish-language
 networks such as Univision, Telemundo, and ESPNDeportes), and social media (Facebook,
 Instagram and YouTube). The GARANIMALS Products are frequently featured on Walmart’s
 social media accounts as well as its own. In 2019, Garan’s Facebook advertising of the
 GARANIMALS brand reached over ten (10) million people and resulted in over 35 million
 impressions (number of people reached through additional engagement).

        Because of its longevity of continuous use, extensive advertising, nationwide distribution,
 and high volume of sales of GARANIMALS Products, GARANIMALS Marks have become
 famous pursuant to 15 U.S.C. §1125(c) and widely recognized by consumers throughout the
 United States. Accordingly, the GARANIMALS Marks enjoy substantial recognition and
 goodwill.

        We recently discovered that several sellers on your platform are infringing the
 GARANIMALS Marks. Garan is concerned that the advertisement, promotion, distribution,
 import/export, offer for sale and/sale of goods, namely cannabis, bearing the GARANIMALS
 Marks, or any variation thereof, tarnishes Garan’s goodwill and reputation associated with the
 GARANIMALS brand as child and family friendly, and is likely to cause confusion, mistake, or
 deception as to the affiliation, connection, or association of the manufacturers, or as to the origin,
 sponsorship, or approval by Garan and/or dilute the distinctive character and reputation of the
 GARANIMALS Marks in violation of, inter alia, Section 2(d) of the Lanham Act, 15 U.S.C.
 §1052(d), Section 32(a) of the Lanham Act, 15 U.S.C. §1114, Section 43(a) of the Lanham Act,
 15 U.S.C. §1125(a), various states’ laws and common laws.

         Furthermore, GARANIMALS products are primarily made for children. Accordingly,
 this use violates California Cannabis Regulation § 5303 (D) (the “Regulation”), which states that
 the package shall not imitate any package used for goods that are typically marketed to children.
 Violations of the Regulation may result in citations containing orders of abatement and fines by
 the Bureau of Cannabis Control.

         Garan considers its intellectual property to be amongst its most valuable assets and devotes
 significant resources to ensure that its rights are not infringed. Garan asks that you immediately
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 17 of 51 Page ID #:17

 August 14, 2020
 Page 3


 remove all listings containing the GARANIMALS Marks, including but not limited to those
 specified in Exhibit A.

         Please contact the undersigned no later than August 21, 2020 to confirm that the listings
 have been removed. Failure to comply will constitute direct and/or contributory liability for
 trademark infringement and related claims outlined above. Tiffany, Inc. v. eBay, Inc., 600 F. 3d 93
 (2d Cir. 2010)

         The statement of facts set forth in this letter is not intended to be, nor shall it be deemed to
 be, a full and complete statement of the facts in this matter. This letter is not intended to be a
 complete statement of our rights and shall not be construed as a waiver of any legal or equitable
 rights or remedies, all of which are expressly reserved.

                                                Davis Wright Tremaine LLP

                                                G. Roxanne Elings

                                                G. Roxanne Elings


 cc: Garan, Incorporated and Garan Services Corporation
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 18 of 51 Page ID #:18




        EXHIBIT A
                                           Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 19 of 51 Page ID #:19




                                                                                                                                                                          2
                                                                                                                                                                                     Log   in       Sign up

             Dispensaries     Deliveries     Maps   Products   Deals         Learn        Strains


  Back to search
                                                               Flower

                                                               Garanimals 1g flower (Olympia Cannabis)
                                                                            Pickup   at   Kush21    -   Burien's First Pot Shop


                                                               $8.00           per 1 g

                                                                            View retailer

                                                               Exclusively for in-store customers.

                                                                        Favorite                        Share

                                                               Warning: This product has intoxicating effects and may be habit forming. Marijuana can impair concentration, coordination, and judgment. Do
                                                               not operate a vehicle or machinery under the influence of this drug. There may be health risks associated with consumption of this product. For
                                                               use only by adults twenty-one and older. Keep out of the reach of children. Marijuana products may be purchased or possessed only by persons
                                                               twenty-one years of age or older.




                                                                                                                              Get mobile
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                                                                            Help center                          Doctors                     Brands                             Privacy
                                                                            Advocacy                             Nearby deals                Add   a   business
                                                                            Sitemap                              Brands                      Developers
                                                                                                                 Strains
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                                                                                                                                                                        2
                                                                                                                                                                                  Log   in   Sign up

               Dispensaries     Deliveries    Maps       Products   Deals            Learn      Strains


Showing 3 results for "garanimals"

Categories                                    100 miles        Clear filters

All Products
Flower

Brand verified

   Brand verified

Order online
                                              Flower                                            Flower                              Flower
   Order pickup                               Garanimals 1g flower                              Garanimals 1g flower                Garanimals 1g flower
                                              (Olympia Cannabis)                                (Olympia Cannabis)                  (Olympia Cannabis)
   Order delivery
                                              $8.00                                             $8.00                               $8.00

Distance

   1 mile                                     Did you find what you were looking for?
   5 miles
   20 miles                                            Yes                  No
   50 miles                                   Help us improve our search accuracy and how our customers shop for cannabis.
   100 miles


Amenities

   Curbside pickup

Genetics

   Hybrid
   Indica
   Sativa

Business Type

   Any
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   Under $25


Weight

   Any
   1 gram




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                                                                                     Help center                  Doctors                       Brands                        Privacy
                                                                                     Advocacy                     Nearby deals                  Add   a   business
                                                                                     Sitemap                      Brands                        Developers
                                                                                                                  Strains
                                                                                                                  News
                                                                                                                  Gear
                                                                                                                  Recently viewed




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                                                                                                                                                                      2
                                                                                                                                                                                Log   in   Sign up

               Dispensaries     Deliveries    Maps     Products   Deals            Learn      Strains


Showing 2 results for "garanimals"

Categories                                    100 miles      Clear filters

All Products
Concentrates

Brand verified

   Brand verified

Order online
                                              Concentrates                                    Shatter
   Order pickup                               Canamo Shatter                                  Mohave Cannabis Co:
                                              Garanimals (I/H) 1g                             Garanimal Shatter (H)
   Order delivery
                                              $30.00                                          $29.00

Distance

   1 mile                                     Did you find what you were looking for?
   5 miles
   20 miles                                          Yes                  No
   50 miles                                   Help us improve our search accuracy and how our customers shop for cannabis.
   100 miles


Amenities

   Curbside pickup

Genetics

   Hybrid
   Indica

Business Type

   Any
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   $25 to $50


Weight

   Any
   Each
   1 gram




                                                                                   Company                      Discover                      Business                      Legal
                                                                                   About us                     Dispensaries                  Get started                   Terms of use
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                                                                                   Help center                  Doctors                       Brands                        Privacy
                                                                                   Advocacy                     Nearby deals                  Add   a   business
                                                                                   Sitemap                      Brands                        Developers
                                                                                                                Strains
                                                                                                                News
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                                                                                                                                                           2
                                                                                                                                                                     Log   in   Sign up

             Dispensaries     Deliveries     Maps   Products   Deals        Learn        Strains


  Back to search
                                                               Concentrates

                                                               Canamo Shatter Garanimals (I/H) 1g
                                                                           Pickup   at   Sticky Saguaro


                                                               $30.00           each

                                                                           View retailer

                                                               Exclusively for in-store customers.

                                                                       Favorite                    Share




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retailers, doctors, and brands since 2008.
                                                                           Help center                     Doctors                   Brands                      Privacy
                                                                           Advocacy                        Nearby deals              Add   a   business
                                                                           Sitemap                         Brands                    Developers
                                                                                                           Strains
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                                                                                                                                                                2
                                                                                                                                                                        Log   in   Sign up

             Dispensaries     Deliveries     Maps   Products   Deals          Learn        Strains


  Back to search
                                                               Shatter

                                                               Mohave Cannabis Co: Garanimal Shatter (H)
                                                                             Pickup   at   The Mint Dispensary   -   Tempe


                                                               $29.00             per 1 g

                                                                             View retailer

                                                               Exclusively for in-store customers.

                                                                         Favorite                    Share




                                                                                                                             Get mobile
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                                                                             Advocacy                        Nearby deals                 Add   a   business
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                                                                                                                                                           2
                                                                                                                                                                          Log   in            Sign up

                Dispensaries   Deliveries    Maps       Products                Deals   Learn   Strains


Showing 64 results for "garanimals"

Categories

All Products
Concentrates
Flower

Brand verified

   Brand verified                            Ice Hash                                           Flower                     Flower                          Infused Pre Roll
                                             Hash Rosin      -       Garanimals          -      Source    -   Garanimals   Flow Kana      -   Garanimals   Top Shelf Cultivation                  |



Order online                                 Tier 1                                             $57.20                     $69.55                          Garanimals Kief Infused
                                                Punch Edibles & Extracts                                                                                   1g PreRoll
                                                                                                                                                           $20.00
   Order pickup                              $100.00
   Order delivery

Distance

    1 mile
    5 miles
    20 miles
    50 miles
    100 miles
                                             Pre Roll                                           Concentrates               Sauce                           Concentrates
Amenities                                    Wunderland Garanimals   |                          Cali Kosher 1g Frosting    Garanimals Sauce                The Higher Community                         |


                                             Celfie 10 Premium Mini                             Garanimalz                   Nepenthe Extracts             Garanimals 1g Sugar
   Curbside pickup                           Pre-Rolls
                                             $45.00                                                Cali Kosher                         5.0 (1)             $35.00
                                                                                                $32.00                     $30.00

Genetics

   Hybrid
   Indica

Strains

   Ice Cream Cake
   Animal Cookies
   Orange Zkittlez                           Concentrates                                       Budder                     Flower                          Pre Roll
                                             Cali Kosher 1g      l                              Age Cured Rosin-           Source Cannabis                 Hi Fly Preroll
                                                                                                                                                                      |                  |


Brands                                       Garanimalz Frosting                                Garanimals- Indica-        Garanimals                      Garanimals
                                             $45.00                                             SILVER
                                                                                                  Lowell Farms             $40.00                          $6.00
                                                                                                $50.00

            Punch Edibles &
            Extracts
            Friendly Farms

            Karma

            Lowell Farms

            Cali Kosher

            Nepenthe Extracts                Concentrates                                       Flower                     Flower                          Flower
                                             Punch Extracts - 1G Live                           West Coast Treez 3.5g      Garanimal Cookies               Garanimals               -   1/8
                                             Rosin, Garanimals X Ice                            Garanimals $20             $25.00                          $50.00
Business Type                                Cream Cake
                                             $90.00                                             $20.00

    Any
    Storefronts
    Delivery
    Mail Order
    Doctors
    CBD Stores


Price Range

    Any                                      Sauce                                              Flower                     Live Resin                      Infused Pre Roll
    Under $25                                FF - Garanimals 500mg                              Old Pal Garanimals 3.5g    Hi Fly Garanimals Live          Hella Dank           : Cherry
    $25 to $50                               Cured Resin Cartridge                              $20                        Resin                           Headlights           x Garanimals
                                                Friendly Farms                                  $20.00                     $28.00                          Pre Roll
                                                                                                                                                           $16.00
    $50 to $100
                                                           5.0            (1)
    $100 to $200                             $35.00

Weight

    Any
    Each
    0.5 grams
    1 gram

    2 grams
    1/8 oz
    1/4 oz                                   Flower                                             Flower                     Concentrates                    Live Resin
    1 oz                                     Garanimals      -           Dub Sack               Hi Fly Garanimals .75g     Punch Extracts - 1G Live        Beezle - Garanimals Live
                                                Karma                                           Pre-roll                   Rosin, Garanimals               Resin Sugar
                                                            4.5          (4)                    $4.50                      $90.00                          $32.00
                                             $20.00
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 25 of 51 Page ID #:25




 Pre Roll                          Flower                     Concentrates                           Concentrates
 Hi Fly - 0.75G Preroll,           Wunderland Garanimals      Dime Bag         -   Garanimals        Lowell Cured Rosin
 Garanimals (Indica)               4g 10 Pack Pre-roll        Sugar                                  Garanimals 1g
 $6.00                             $34.00                     $28.50                                 $50.21




 Pre Roll                          Flower                     Concentrates                           Concentrates
 Humboldt Trees: 1g Pre            Source Garanimals Indica   Punch - 1G Live Rosin,                 FLAVOR - GARANIMALS
 Roll (Garanimal Cookies)          Flower 3.5g                Garanimals x Ice Cream                 SUGAR 1G
 $6.00                             $54.00                     Cake
                                                              $90.00                                 $35.00




 Shatter                           Flower                     Flower                                 Flower
 Garanimals Shatter (I/S)          Papa's Herb Garanimals
                                                  |           Top Shelf Cultivation -                Papa's Herb - Herb
 66.03% THC (OCEAN)                $25.00                     *DELIVERY PROMO                        Garanimals 3.5g
 $34.99                                                       ONLY*
                                                              $45.00 Garanimals 3.5G                 $25.00
                                                              Old Batch




 Concentrates                      Pre Roll                   Shatter                                Concentrates
 Punch - 1G Live Rosin,            Hi Fly - 0.75 Preroll,     Garanimals Shatter (I/S)               Punch Extracts -
 Garanimals                        Garanimals (Indica)        77.10% THC (OCEAN)                     Garanimals - Live Rosin         -
 $90.00                            $6.00                      $34.99                                 1g
                                                                                                     $80.00




 Rosin                             Flower                     Infused Pre Roll                       Flower
 Punch Edibles & Extracts      -   Karma Garanimals 2g Dub    Hella Dank           -   Deep Cherry   Cali Kosher    -   Garanimals
 Garanimals x Ice Cream            Sack                       Headlights           x   Garanimals    $41.00
 Cake
 $75.00Live Rosin                  $20.00                     $18.00




 Flower                            Concentrates               Live Resin                             Sauce
 North Country Pharms      -       Friendly Farms - .5g CR    The Higher Community                   HIFLY Garanimals 1g
                                                                                                              |


 Garanimals                        Cart - Garanimals (I)      Extracts Garanimals
                                                                           |                         Sauce
 $53.00                            $33.00                     Diamonds
                                                              $40.00                                 $40.00
                                  Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 26 of 51 Page ID #:26




                                    Flower                                  Concentrates                         Live Resin                          Concentrates
                                    Cannafornia 1 Oz                        Flavor - Garanimals Sugar            Hi-fly Garanimals Live
                                                                                                                            |                        PUNCH EXTRACTS           |


                                    Garanimals Shake                        1g                                   Resin (1G)                          FATSO x GARANIMALS           |


                                    $65.00                                  $40.00                               $40.00                              LIVE
                                                                                                                                                     $90.00ROSIN




                                    Rosin                                   Flower                               Pre Roll                            Concentrates
                                    Punch Extracts  |                       Garanimal Cookies (I/S)              Garanimal Cookies Single            Dime Bag - Garanimals
                                    Garanimals 1g Live Rosin                20.64% THC (HUMBOLDT                 Pre-Roll (I/S) 20.64% THC           Sugar - 1g, One Gram
                                    $100.00                                 TREES)
                                                                            $29.99                               (HUMBOLDT
                                                                                                                 $7.99          TREES)               $35.00




                                    Live Resin                              Flower                               Concentrates                        Flower
                                    HIFLY Garanimals Live
                                               |                            Karma    -   Garanimals 2g           Hi Fly - Garanimals Live            Garanimals     -   1/8
                                    Resin                                   $18.99                               Resin 1g                            $50.00
                                    $30.00                                                                       $32.00




                                    Pre Roll                                Flower                               Flower                              Concentrates
                                    Garanimal Cookies                       Source Cannabis      |   Source      Cannafornia Shake           -       1g Garanimals Diamonds &
                                    $10.00                                  - Garanimals                         Garanimals - 28g                    Sauce - BOM PURE
                                                                            $45.00                               $55.00                              EXTRACTS
                                                                                                                                                     $40.00



                                    Did you find what you were looking for?

                                             Yes         No

                                    Help us improve our search accuracy and how our customers shop for cannabis.




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retailers, doctors, and brands since 2008.
                                                                  Help center                  Doctors                          Brands                   Privacy
                                                                  Advocacy                     Nearby deals                     Add   a   business
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                                              Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 27 of 51 Page ID #:27




                                                                                                                                                                                                 2
                                                                                                                                                                                                            Log   in       Sign up

                Dispensaries     Deliveries    Maps       Products     Deals            Learn      Strains


Showing 99 results for "garanimals"

Categories                                     100 miles        Clear filters

All Products
Flower
Concentrates

Brand verified

   Brand verified

                                               Pre Roll                                            Flower                                                Concentrates                            Pre Roll
Order online                                   Hi Fly - Garanimals Preroll                         Wunderland: Celfie                                    Flavor Garanimals                       Humboldt Trees: 5g Pre
                                               - .75 Grams                                         Garanimals 4g. Pre Roll                               $32.00                                  Roll Pack (Garanimal
   Order pickup                                                                                                                                                                                  Cookies)
                                               $6.00                                               $34.00                                                                                        $25.00
   Order delivery

Distance

    1 mile
    5 miles
    20 miles
    50 miles
    100 miles


Amenities                                      Pre Roll                                            Pre Roll                                              Sugar Leaf                              Concentrates
                                               Hella Dank - Garanimals                   x         Hella Dank - Garanimals              x                The Higher Community                    MAVEN: CURED ROSIN                  -
   Curbside pickup                             Deep Cherry Indica                                  Deep Cherry Indica                                    Extracts Garanimal Sugar
                                                                                                                                                                      |                          GARANIMALS 1G
                                               Infused
                                               $14.00 Preroll                                      Infused
                                                                                                   $14.00 Preroll                                          Gram
                                                                                                                                                         1$40.00                                 $46.00
Genetics

   Indica
   Hybrid

Strains

   Ice Cream Cake
   Animal Cookies
   Ice Cream Kush
   Orange Zkittlez
                                               Shake                                               Flower                                                Concentrates                            Shake
                                               Cannafornia       -   Garanimals                    Source Cannabis,                                      Dime Bag - Garanimals                   Cannafornia Garanimals|

Brands                                         Shake                                               Garanimals, 3.5g                                      Sugar - 1g                              (Shake)
                                               $65.00                                              $65.00                                                $29.00                                  $60.00

            Punch Edibles &
            Extracts
            Friendly Farms

            Lowell Farms

            Karma

            Strains

            Cali Kosher
                                               Pre Roll                                            Infused Pre Roll                                      Flower                                  Pre Roll
            Nepenthe Extracts                  Garanimals 4GCelfie                                 Ganja Gold - Garanimals                               Garanimals         -   1/8              Garanimal Cookies
                                               $45.00                                              Blue Tarantula                                        $50.00                                  $10.00
                                                                                                   $28.00
Business Type

    Any
    Storefronts
    Delivery
    Mail Order
    Doctors
    CBD Stores


Price Range
                                               Flower                                              Flower                                                Concentrates
    Any                                        Source Cannabis          |   Source                 Cannafornia Shake         -                           1g Garanimals Diamonds &
    Under $25                                  - Garanimals                                        Garanimals - 28g                                      Sauce - BOM PURE
                                               $45.00                                              $55.00                                                EXTRACTS
                                                                                                                                                         $40.00
    $25 to $50
    $50 to $100
    $100 to $200
                                                                                                                                 Page       2   of   2


Weight

    Any                                        Did you find what you were looking for?
    Each
                                                        Yes                    No
    0.5 grams
    1 gram                                     Help us improve our search accuracy and how our customers shop for cannabis.
    2 grams
    1/8 oz
    1/4 oz
    1 oz




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retailers, doctors, and brands since 2008.
                                                                                        Help center                   Doctors                                             Brands                      Privacy
                                                                                        Advocacy                      Nearby deals                                        Add    a    business
                                                                                        Sitemap                       Brands                                              Developers
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                                                                                                                                                                         2
                                                                                                                                                                                   Log   in   Sign up

                  Dispensaries     Deliveries    Maps     Products   Deals            Learn      Strains   Order online


Showing     1   result for "garanimals"

Categories                                       100 miles      Clear filters

All Products
Concentrates

Brand verified

   Brand verified

Order online
                                                 Concentrates
   Order pickup                                  ECC Garanimals Badder
   Order delivery                                $35.00


Distance

   1 mile                                        Did you find what you were looking for?
   5 miles
   20 miles                                             Yes                  No
   50 miles                                      Help us improve our search accuracy and how our customers shop for cannabis.
   100 miles


Amenities

   Curbside pickup

Genetics

   Indica

Business Type

   Any
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   $25 to $50


Weight

   Any
   1 gram




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               Dispensaries   Deliveries    Maps     Products   Deals      Learn   Strains     Order online


Showing 56 results for "garanimals"

Categories                                  100 miles      Clear filters

All Products
Vape pens
Concentrates
Flower

Brand verified

   Brand verified
                                            Cartridge                              Concentrates               Cartridge                  Sauce
                                            Monster Xtracts     -                  Monster X Garanimals 510   Garanimals 510 1g Cart     Garanimals Terp Sugar 1g
Order online                                Garanimals 1G                          1G Cart, Unit                Monster Xtracts          (Cured)
                                            $35.00                                 $37.74                                 5.0 (1)            Monster Xtracts
   Order pickup                                                                                               $35.00                                   3.0 (1)
   Order delivery                                                                                                                        $50.00

Distance

   1 mile
   5 miles
   20 miles
   50 miles
   100 miles


Amenities                                   Crystalline                            Cartridge                  Flower                     Concentrates
                                            Monster Extracts -                     Monster Extracts -         MONSTER EXTRACTS           MONSTER EXTRACTS
   Curbside pickup                          Garanimals 1g Terp Sugar               Garanimals 1g Vape Cart    GARANIMALS                 GARANIMALS CCELL
                                            $50.00                                 $40.00                     $45.00                     $45.00
Genetics

   Hybrid
   Indica

Product

   Medical

Brands
                                            Concentrates                           Concentrates               Concentrates               Cartridge
                                            Garanimals 1g 510 Cart by              Monster Xtracts            Monster Xtracts            Big Gas - Animal Cake .5g
                                            Monster Xtracts                        Garanimals Cart 1g, Unit   Garanimals Cart 1g, Unit   Live Resin Vape Cart
            Monster Xtracts                 $50.00                                 $40.00                     $40.00                     $35.00

Business Type

   Any
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range                                 Concentrates                           Concentrates               Cartridge                  Cartridge
                                            Monster Xtracts                        Monster Xtracts            Monster Xtracts 1g         Monster Xtracts -
   Any                                      Garanimals Cart 1g, Unit               Garanimals Cart 1g, Unit   Cartridges GARAMINALS      Garanimals 510 Cart 1g
   Under $25                                $40.00                                 $40.00                     1G
                                                                                                              $35.00                     83.7%
                                                                                                                                         $40.00
   $25 to $50
   $50 to $100
   $100 to $200
   $200 and over


Weight

   Any
   Each
   0.5 grams
   1 gram
                                            Cartridge                              Concentrates               Flower                     Concentrates
                                            (MED) Garanimals 510 1G-               (MED) Cured Resin          Garanimals (CLDD)          Garanimals Cartridge (1g)
   2 grams
                                            Monster X                              Garanimals Terp Sugar-     $15.00 – $285.00           - Monster
   1/8 oz                                   $30.00                                 Monster
                                                                                   $50.00 X                                              $45.00
   1/4 oz
   1/2 oz
   1 oz




                                            Vape Pens                              Cartridge                  Cartridge                  Cartridge
                                            Big Gas - Animal Cakes                 Monster Xtracts      -     Big Gas Animal Cake 0.5g   Big Gas Animal Cake LR
                                            Live Resin Cartridge .5G               Garanimals                 LR Vape Cart               .5G Cart
                                            $35.00                                 $35.00                     $40.00                     $40.00
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 30 of 51 Page ID #:30




 Cartridge                        Cartridge                   Cartridge                  Cartridge
 Big Gas     -   Animal Cake LR   Big Gas - Animal Cake LR    (MEDICAL) Big Gas   |      Big Gas- Animal Cake
 - .5g                            Cart - .5g                  Animal Cake Live Resin     Cartridge *.5g live resin*
 $40.00                           $40.00                      Cart .5G
                                                              $39.62|                    (H)
                                                                                         $30.00




 Cartridge                        Concentrates                Live Resin                 Cartridge
 Big Gas I Animal Cake            Big Gas Animal Cake Live    Monster Xtracts - Cured    Big Gas Animal Cake Live
 Live Resin Cartridge I .5g       Resin Cart .5g, Unit        Resin Terp Sugar           Resin 510 Cart .5g
 $45.00                           $35.00                      Garanimals
                                                              $55.00                     $35.00




 Cartridge                        Concentrates                Concentrates               Cartridge
 Big Gas Animal Cake LRC          Big Gas Animal Cake Live    Big Gas Animal Cake Live   Big Gas Animal Cakes Live
 .5g                              Resin .5g, Unit             Resin Cart .5g, Unit       Resin Cart .5g
 $40.00                           $35.00                      $35.00                     $30.00




 Concentrates                     Concentrates                Concentrates               Cartridge
 Monster Xtracts                  Big Gas Animal Cake Live    MED Monster Garanimals     (MED) Big Gas Animal
 Garanimals Cured Resin           Resin Cart .5g, Unit        Terp Sugar                 Cakes Live Resin
 Terp
 $50.00Sugar 1g, Unit             $35.00                      $65.00                     Cartridge
                                                                                         $40.00




 Cartridge                        Cartridge                   Vape Pens                  Cartridge
 (REC) Big Gas Animal             Big Gas Animal Cake Live
                                              |               Big Gas - Animal Cakes     Big Gas - Animal Cake
 Cakes Live Resin                 Resin Cart | .5g            .5g Live Resin Cartridge   Live Resin .5g Cartridge
 Cartridge
 $50.00                           $35.00                      $35.00                     $35.00




 Concentrates                     Cartridge                   Cartridge                  Cartridge
 Big Gas - Animal Cake       -    Big Gas - Animal Cake -     Big Gas - Animal Cake      Big Gas - Animal Cakes
 Live Resin - .5g                 Live Resin 510 Cart - .5g   Live Resin .5g Cart        0.5g Live Resin Cartridge
 $40.00                           $45.00                      $35.00                     $35.00
                                  Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 31 of 51 Page ID #:31




                                    Concentrates                            Concentrates                     Concentrates                        Cartridge
                                    Monster Xtracts                         Monster Xtracts                  Big Gas Animal Cake .5g
                                                                                                                       |                   |     (MED) Big Gas Animal |


                                    Garanimals Cartridges 1g,               Garanimals Cartridges 1g,        Live Resin Cart                     Cakes Live Resin Cart .5g
                                    Unit
                                    $40.00                                  Unit
                                                                            $40.00                           $40.00                              $40.00




                                    Concentrates                            Vape Pens                        Concentrates                        Cartridge
                                    Big Gas Animal Cake .5G                 Big Gas - Animal Cakes           Big Gas - Animal Cakes              (MED) Big Gas Animal |


                                    LR Wax                                  .5g Live Resin Cartridge         .5g Live Resin                      Cake Live Resin Cart .5g
                                    $35.00                                  $40.00                           Concentrate
                                                                                                             $40.00                              $40.00



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                                          Yes            No

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               Dispensaries   Deliveries    Maps     Products     Deals    Learn   Strains       Order online


Showing 49 results for "garanimals"

Categories                                  100 miles      Clear filters

All Products
Vape pens
Concentrates
Flower

Brand verified

   Brand verified
                                            Cartridge                              Sauce                        Concentrates               Concentrates
                                            Garanimals 510 1g Cart                 Garanimals Terp Sugar 1g     Monster Xtracts            Monster Xtracts
Order online                                  Monster Xtracts                      (Cured)                      Garanimals Cart 1g, Unit   Garanimals Cart 1g, Unit
                                                        5.0 (1)                       Monster Xtracts           $40.00                     $40.00
   Order pickup                             $40.00                                              3.0 (1)
   Order delivery                                                                  $60.00

Distance

   1 mile
   5 miles
   20 miles
   50 miles
   100 miles


Amenities                                   Concentrates                           Cartridge                    Concentrates               Concentrates
                                            Monster Xtracts                        Monster Xtracts -            Monster Xtracts            Garanimals Cartridge (1g)
   Curbside pickup                          Garanimals Cart 1g, Unit               Garanimals 510 Cart 1g       Garanimals Cart 1g, Unit   - Monster
                                            $40.00                                 83.7%
                                                                                   $40.00                       $40.00                     $45.00
Genetics

   Indica
   Hybrid

Brands



            Monster Xtracts

                                            Flower                                 Concentrates                 Cartridge                  Cartridge
Business Type                               Garanimals (CLDD)                      Big Gas Animal Cake Live     Big Gas Animal Cake LRC    Big Gas     -   Animal Cake LR
                                            $15.00 – $285.00                       Resin Cart .5g, Unit         .5g                        - .5g
   Any                                                                             $35.00                       $40.00                     $40.00
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   Under $25
   $25 to $50                               Cartridge                              Cartridge                    Cartridge                  Cartridge
   $50 to $100                              Monster Xtracts       -                Big Gas - Animal Cake LR     Big Gas Animal Cake LR     Big Gas I Animal Cake
                                            Garanimals                             Cart - .5g                   .5G Cart                   Live Resin Cartridge I .5g
   $100 to $200
                                            $35.00                                 $40.00                       $40.00                     $45.00
   $200 and over


Weight

   Any
   Each
   0.5 grams
   1 gram

   2 grams
   1/8 oz
   1/4 oz                                   Concentrates                           Concentrates                 Live Resin                 Cartridge
   1/2 oz                                   Big Gas Animal Cake Live               Big Gas Animal Cake Live     Monster Xtracts - Cured    Big Gas Animal Cakes Live
   1 oz                                     Resin .5g, Unit                        Resin Cart .5g, Unit         Resin Terp Sugar           Resin Cart .5g
                                            $35.00                                 $35.00                       Garanimals
                                                                                                                $55.00                     $30.00




                                            Concentrates                           Crystalline                  Cartridge                  Concentrates
                                            Monster Xtracts                        Monster Extracts -           Monster Extracts -         Big Gas Animal Cake Live
                                            Garanimals Cured Resin                 Garanimals 1g Terp Sugar     Garanimals 1g Vape Cart    Resin Cart .5g, Unit
                                            Terp
                                            $50.00Sugar 1g, Unit                   $50.00                       $40.00                     $35.00
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 33 of 51 Page ID #:33




 Cartridge                   Cartridge                       Concentrates                Cartridge
 Monster Xtracts   -         Big Gas - Animal Cake           Monster X Garanimals 510    Big Gas Animal Cake Live
                                                                                                     |


 Garanimals 1G               Live Resin .5g Cartridge        1G Cart, Unit               Resin Cart | .5g
 $35.00                      $35.00                          $37.74                      $35.00




 Cartridge                   Concentrates                    Concentrates                Cartridge
 (MED) Garanimals 510 1G-    Garanimals 1g 510 Cart by       (MED) Cured Resin           Big Gas Animal Cake Live
 Monster X                   Monster Xtracts                 Garanimals Terp Sugar-      Resin 510 Cart .5g
 $30.00                      $50.00                          Monster
                                                             $50.00 X                    $35.00




 Cartridge                   Cartridge                       Flower                      Cartridge
 Big Gas - Animal Cake       Big Gas - Animal Cakes          MONSTER EXTRACTS            Big Gas - Animal Cake .5g
 Live Resin .5g Cart         0.5g Live Resin Cartridge       GARANIMALS                  Live Resin Vape Cart
 $35.00                      $35.00                          $45.00                      $35.00




 Concentrates                Concentrates                    Cartridge                   Concentrates
 MONSTER EXTRACTS            Big Gas - Animal Cake       -   Big Gas - Animal Cake -     MED Monster Garanimals
 GARANIMALS CCELL            Live Resin - .5g                Live Resin 510 Cart - .5g   Terp Sugar
 $45.00                      $40.00                          $45.00                      $65.00




 Cartridge                   Cartridge                       Cartridge                   Vape Pens
 Monster Xtracts 1g          Big Gas Animal Cake 0.5g        (MEDICAL) Big Gas    |      Big Gas - Animal Cakes
 Cartridges GARAMINALS       LR Vape Cart                    Animal Cake Live Resin      Live Resin Cartridge .5G
 1G
 $35.00                      $40.00                          Cart
                                                             $39.62 .5G
                                                                      |                  $35.00




 Vape Pens                   Concentrates                    Cartridge                   Concentrates
 Big Gas - Animal Cakes      Big Gas Animal Cake .5g
                                         |           |       (MED) Big Gas Animal
                                                                             |           Big Gas Animal Cake .5G
 .5g Live Resin Cartridge    Live Resin Cart                 Cakes Live Resin Cart .5g   LR Wax
 $35.00                      $40.00                          $40.00                      $35.00
                                  Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 34 of 51 Page ID #:34




                                    Cartridge
                                    (MED) Big Gas Animal
                                                    |


                                    Cake Live Resin Cart .5g
                                    $40.00



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                                          Yes            No

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               Dispensaries     Deliveries    Maps     Products   Deals            Learn      Strains   Order online


Showing 4 results for "garanimals"

Categories

All Products
Vape pens
Concentrates

Brand verified

   Brand verified                             Cartridge                                       Concentrates                        Cartridge                           Concentrates
                                              (MED) Garanimals 510 1G-                        (MED) Cured Resin                   (MED) Big Gas Animal
                                                                                                                                                    |                 MED Monster Garanimals
Order online                                  Monster X                                       Garanimals Terp Sugar-              Cakes Live Resin Cart .5g           Terp Sugar
                                              $30.00                                          Monster
                                                                                              $50.00 X                            $40.00                              $65.00
   Order pickup
   Order delivery
                                              Did you find what you were looking for?
Distance
                                                     Yes                  No
   1 mile
   5 miles                                    Help us improve our search accuracy and how our customers shop for cannabis.
   20 miles
   50 miles
   100 miles


Amenities

   Curbside pickup

Genetics

   Hybrid
   Indica

Business Type

   Any
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   $25 to $50
   $50 to $100


Weight

   Any
   Each




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                 Dispensaries     Deliveries      Maps   Products       Deals       Learn     Strains



Brands        Top Shelf Cultivation       Products        Flower        Garanimals

                                                                        Flower Top Shelf Cultivation
                                                                                |




                                                                        Garanimals
                                                                                        5.0   (6)


                                                                          No retailers available        in   your area

                                                                        Garanimals Is A Very Exotic Hybrid. This Strain Is Unique Because Of                          Its        Terpene Profile. Grape Cookie Taste
                                                                        With A Nice Relaxing High. - Genetics (Grape Pie x Animal Cookies)


                                                                                Favorite                Share




  Retailers       Reviews



                                 Reviews                                                                                                                         Write   a       review


                                                             5  stars                                                                                                                           6

                                        5.0                  4 stars
                                                             3 stars
                                                                                                                                                                                                0
                                                                                                                                                                                                0
                                                             2 stars                                                                                                                            0
                                                             1 star                                                                                                                             0
                                      6 reviews

                                                                                                                               All star ratings              Recommended



                                               ChefRaulArizona

                                                   5.0
                                   very impressed
                                   got a pre roll of this beauty from smoke signals. great flower great smell great smoke.                         5   out of 5 pick this
                                   strain for night time use if you are not a heavy smoker. But for the heavy smokers this                        is   an all day great
                                   time. @smokesignals

                                    3                                                                                                                                        1   year ago


                                        Helpful          Report



                                               tjones7515

                                                   5.0


                                                                                                                                                                     2 months ago


                                        Helpful          Report



                                               fudgey

                                                   5.0


                                                                                                                                                                     2 months ago


                                        Helpful          Report



                                               KEismann

                                                   5.0


                                                                                                                                                                     4 months ago


                                        Helpful          Report



                                               slowpoked

                                                   5.0


                                                                                                                                                                     4 months ago


                                        Helpful          Report



                                               michelleb1

                                                   5.0


                                                                                                                                                                     4 months ago


                                        Helpful          Report




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               Dispensaries     Deliveries    Maps     Products   Deals            Learn      Strains       Order online


Showing 23 results for "garanimals"

Categories                                    100 miles      Clear filters

All Products
Concentrates
Vape pens

Brand verified

   Brand verified

                                              Concentrates                                    Sauce                                  Cartridge                        Vape Pens
Order online                                  Garanimals 1g 510                               Garanimals Terp Sugar 1g               Garanimals 510 1g Cart           MX Garanimals 1g 510
                                              $45.00                                          (Cured)                                  Monster Xtracts                $45.00
   Order pickup                                                                                  Monster Xtracts                                 5.0 (1)
   Order delivery                                                                                          3.0 (1)                   $35.00
                                                                                              $55.00
Distance

   1 mile
   5 miles
   20 miles
   50 miles
   100 miles


Amenities
                                              Concentrates                                    Concentrates                           Concentrates                     Vape Pens
   Curbside pickup                            Garanimals 1g 510 Cart by                       Monster 1g Cured Resin            -    Big Gas Animal Cake .5G          Big Gas - Animal Cakes
                                              Monster Xtracts                                 Garanimals                             LR Wax                           .5g Live Resin Cartridge
                                              $50.00                                          $56.60                                 $35.00                           $40.00
Genetics

   Hybrid
   Indica

Product

   Medical

Brands

                                              Concentrates                                    Cartridge                              Concentrates                     Concentrates
                                              Big Gas - Animal Cakes                          (MED) Garanimals 510 1G-               Monster X: Garanimals            (MED) Cured Resin
            Monster Xtracts                   .5g Live Resin                                  Monster X                              cart 1g                          Garanimals Terp Sugar-
                                              Concentrate
                                              $40.00                                          $30.00                                 $45.00                           Monster
                                                                                                                                                                      $50.00 X
Business Type

   Any
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range
                                              Concentrates                                    Sauce                                  Cartridge                        Cartridge
   Any                                        Monster X Garanimals 510                        (MED) Monster Extracts                 (MED) Big Gas Animal             (REC) Big Gas Animal
   $25 to $50                                 1G Cart, Unit                                   Garanimals Terp Sugar 1g               Cakes Live Resin                 Cakes Live Resin
   $50 to $100                                $37.74                                          88.5%
                                                                                              $60.00                                 Cartridge
                                                                                                                                     $40.00                           Cartridge
                                                                                                                                                                      $50.00


Weight

   Any
   Each
   0.5 grams
   1 gram




                                              Cartridge                                       Cartridge                              Concentrates                     Concentrates
                                              Big Gas Animal Cake 0.5g                        (MEDICAL) Big Gas            |         Monster Xtracts                  Monster Xtracts
                                              LR Vape Cart                                    Animal Cake Live Resin                 Garanimals Cartridges 1g,        Garanimals Cartridges 1g,
                                              $40.00                                          Cart
                                                                                              $39.62 .5G|                            Unit
                                                                                                                                     $40.00                           Unit
                                                                                                                                                                      $40.00




                                              Vape Pens                                       Vape Pens                              Cartridge
                                              Big Gas - Animal Cakes                          Big Gas - Animal Cakes                 Big Gas- Animal Cake
                                              .5g Live Resin Cartridge                        Live Resin Cartridge .5G               Cartridge *.5g live resin*
                                              $35.00                                          $35.00                                 (H)
                                                                                                                                     $30.00



                                              Did you find what you were looking for?

                                                     Yes                  No

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Showing 8 results for "garanimals"

Categories
                                                                             Search cannabis, smartly
All Products                                                                                                                                                                              Shop now
Flower                                                                       Discover                 a    diverse array of local flower
Concentrates

Brand verified                                 100 miles        Clear filters

   Brand verified

Order online

   Order pickup
   Order delivery

Distance
                                               Pre Roll                                          Flower                              Flower                                Flower
    1 mile                                     PreRoll Garanimals - 1g -                         Garanimals (Green &                 GARANIMALS EIGHTH                 -   Papa's Herb Garanimals
    5 miles                                    THP - Tahoe Hydroponics                           Gold)                               PISTOLA                               Flower Prepackaged
                                               LLC
                                               $12.00                                            $52.00 – $315.00                    $45.00                                1/8th*
                                                                                                                                                                           $29.72
    20 miles
    50 miles
    100 miles


Amenities

   Curbside pickup

Genetics

   Hybrid
   Indica                                      Flower                                            Flower                              Shatter                               Flower
                                               NCP Garanimals 3.5g                               Garanimals Minis                    Garanimals    -   Dab Daddy           **NEW** Garanimal Minis
                                               1/8th Oz Indoor Flower                            $15.00                              Shatter                               |Dank Street *5G
Strains                                        $50.96                                                                                $40.00                                SPECIAL!*
                                                                                                                                                                           $15.00
   Orange Zkittlez

Business Type                                  Did you find what you were looking for?
    Any                                                 Yes                  No
    Storefronts
    Delivery                                   Help us improve our search accuracy and how our customers shop for cannabis.
    Mail Order
    Doctors
    CBD Stores


Price Range

    Any
    Under $25
    $25 to $50
    $50 to $100
    $100 to $200
    $200 and over


Weight

    Any
    Each
    1 gram

    1/8 oz
    1/4 oz
    1/2 oz
    1 oz




                                                                                      Company                      Discover                      Business                      Legal
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                                                                                      Help center                  Doctors                       Brands                        Privacy
                                                                                      Advocacy                     Nearby deals                  Add    a   business
                                                                                      Sitemap                      Brands                        Developers
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               Dispensaries     Deliveries    Maps         Products   Deals            Learn      Strains     Order online


Showing 6 results for "garanimals"

Categories
                                                                              Search cannabis, smartly
All Products                                                                                                                                                                              Shop now
Flower                                                                        Discover                 a     diverse array of local flower
Concentrates

Brand verified                                100 miles          Clear filters

   Brand verified

Order online

   Order pickup
   Order delivery

Distance
                                              Flower                                              Pre Roll                             Infused Pre Roll                   Flower
   1 mile                                     Garanimals grown by                                 MMG - PARTY ROLL             -       Ganja Gold Blue Tarantula          Papa's Herb - 3.5g Flower
   5 miles                                    Waterdog Herb Farm                                  GARANIMALS (3G)                      - Garanimals                       (Garanimals)
   20 miles                                     Flow Kana                                         $30.00                               $28.00                             $22.00
                                              $32.00
   50 miles
   100 miles


Amenities

   Curbside pickup

Genetics

   Indica
                                              Concentrates                                        Concentrates
Brands                                        Bom Garanimals
                                                       |                                          $40 Born Garanimals
                                              Diamonds With Sauce 1G                              Crumble 1G
                                              ($50)
                                              $43.48                                              $34.79

            Flow Kana

                                              Did you find what you were looking for?
Business Type
                                                       Yes                    No
   Any
   Storefronts                                Help us improve our search accuracy and how our customers shop for cannabis.
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   Under $25
   $25 to $50


Weight

   Any
   Each
   1 gram

   1/8 oz




                                                                                       Company                       Discover                       Business                    Legal
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                                                                                       Sitemap                       Brands                         Developers
                                                                                                                     Strains
                                                                                                                     News
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                                                                                                                                                                        2
                                                                                                                                                                                    Log   in   Sign up

               Dispensaries     Deliveries    Maps     Products     Deals            Learn      Strains


Showing 24 results for "garanimals"

Categories                                    100 miles      Clear filters

All Products
Concentrates
Vape pens
Flower

Brand verified

   Brand verified
                                              Cartridge                                         Sauce                                Concentrates                       Concentrates
                                              Garanimals 510 1g Cart                            Garanimals Terp Sugar 1g             Monster Xtracts                    Monster Xtracts
Order online                                    Monster Xtracts                                 (Cured)                              Garanimals Cart 1g, Unit           Garanimals Cart 1g, Unit
                                                          5.0 (1)                                  Monster Xtracts                   $40.00                             $40.00
   Order pickup                               $45.00                                                         3.0 (1)
   Order delivery                                                                               $60.00 – $100.00

Distance

   1 mile
   5 miles
   20 miles
   50 miles
   100 miles


Amenities                                     Concentrates                                      Cartridge                            Concentrates                       Flower
                                              Monster Xtracts                                   Monster Xtracts -                    Monster Xtracts                    Garanimals (CLDD)
   Curbside pickup                            Garanimals Cart 1g, Unit                          Garanimals 510 Cart 1g               Garanimals Cart 1g, Unit           $15.00 – $285.00
                                              $40.00                                            83.7%
                                                                                                $40.00                               $40.00
Genetics

   Indica
   Hybrid

Brands



            Monster Xtracts

                                              Concentrates                                      Cartridge                            Live Resin                         Cartridge
Business Type                                 Garanimals Cartridge (1g)                         Monster Xtracts        -             Monster Xtracts - Cured            Big Gas Animal Cake LRC
                                              - Monster                                         Garanimals                           Resin Terp Sugar                   .5g
   Any                                        $45.00                                            $35.00                               Garanimals
                                                                                                                                     $55.00                             $40.00
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   Under $25
   $25 to $50                                 Cartridge                                         Concentrates                         Concentrates                       Cartridge
   $50 to $100                                Big Gas Animal Cakes Live                         Big Gas Animal Cake Live             Monster Xtracts                    Big Gas     -   Animal Cake LR
                                              Resin Cart .5g                                    Resin .5g, Unit                      Garanimals Cured Resin             - .5g
   $100 to $200                                                                                                                      Terp
                                              $30.00                                            $35.00                               $50.00Sugar 1g, Unit               $40.00
   $200 and over


Weight

   Any
   Each
   0.5 grams
   1 gram

   2 grams
   1/8 oz
   1/4 oz                                     Concentrates                                      Concentrates                         Cartridge                          Concentrates
   1/2 oz                                     Big Gas Animal Cake Live                          Big Gas Animal Cake Live             Big Gas - Animal Cake LR           Big Gas Animal Cake Live
   1 oz                                       Resin Cart .5g, Unit                              Resin Cart .5g, Unit                 Cart - .5g                         Resin Cart .5g, Unit
                                              $35.00                                            $35.00                               $40.00                             $35.00




                                              Cartridge                                         Cartridge                            Cartridge                          Cartridge
                                              Big Gas - Animal Cakes                            Big Gas - Animal Cake                Big Gas - Animal Cake              Big Gas Animal Cake Live
                                                                                                                                                                                    |


                                              0.5g Live Resin Cartridge                         Live Resin .5g Cart                  Live Resin .5g Cartridge           Resin Cart | .5g
                                              $35.00                                            $35.00                               $35.00                             $35.00



                                              Did you find what you were looking for?

                                                     Yes                    No

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                                                                                                                                          2
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               Dispensaries   Deliveries    Maps     Products     Deals    Learn   Strains


Showing 47 results for "garanimals"

Categories                                  100 miles      Clear filters

All Products
Vape pens
Concentrates
Flower

Brand verified

   Brand verified
                                            Sauce                                  Cartridge                  Concentrates                Cartridge
                                            Garanimals Terp Sugar 1g               Garanimals 510 1g Cart     Monster Xtracts             Monster Xtracts -
Order online                                (Cured)                                   Monster Xtracts         Garanimals Cart 1g, Unit    Garanimals 510 Cart 1g
                                              Monster Xtracts                                   5.0 (1)       $40.00                      83.7%
                                                                                                                                          $40.00
   Order pickup                                         3.0 (1)                    $45.00
   Order delivery                           $60.00

Distance

   1 mile
   5 miles
   20 miles
   50 miles
   100 miles


Amenities                                   Concentrates                           Cartridge                  Concentrates                Concentrates
                                            Monster Xtracts                        (MED) Garanimals 510 1G-   MED Monster Garanimals      Monster Xtracts
   Curbside pickup                          Garanimals Cart 1g, Unit               Monster X                  Terp Sugar                  Garanimals Cart 1g, Unit
                                            $40.00                                 $30.00                     $65.00                      $40.00
Genetics

   Indica
   Hybrid

Brands



            Monster Xtracts

                                            Concentrates                           Concentrates               Flower                      Concentrates
Business Type                               (MED) Cured Resin                      Monster Xtracts            Garanimals (CLDD)           Garanimals 1g 510 Cart by
                                            Garanimals Terp Sugar-                 Garanimals Cart 1g, Unit   $15.00 – $285.00            Monster Xtracts
   Any                                      Monster
                                            $50.00 X                               $40.00                                                 $50.00
   Storefronts
   Delivery
   Mail Order
   Doctors
   CBD Stores


Price Range

   Any
   Under $25
   $25 to $50                               Concentrates                           Cartridge                  Cartridge                   Cartridge
   $50 to $100                              Garanimals Cartridge (1g)              Monster Xtracts        -   Monster Xtracts   -         Big Gas Animal Cake Live
                                            - Monster                              Garanimals                 Garanimals 1G               Resin 510 Cart .5g
   $100 to $200
                                            $45.00                                 $35.00                     $35.00                      $35.00
   $200 and over


Weight

   Any
   Each
   0.5 grams
   1 gram

   2 grams
   1/8 oz
   1/4 oz                                   Crystalline                            Cartridge                  Live Resin                  Concentrates
   1/2 oz                                   Monster Extracts -                     Monster Extracts -         Monster Xtracts - Cured     Monster X Garanimals 510
   1 oz                                     Garanimals 1g Terp Sugar               Garanimals 1g Vape Cart    Resin Terp Sugar            1G Cart, Unit
                                            $50.00                                 $40.00                     Garanimals
                                                                                                              $55.00                      $37.74




                                            Concentrates                           Concentrates               Cartridge                   Concentrates
                                            Monster Xtracts                        Big Gas Animal Cake Live   Big Gas Animal Cakes Live   Big Gas Animal Cake Live
                                            Garanimals Cured Resin                 Resin Cart .5g, Unit       Resin Cart .5g              Resin .5g, Unit
                                            Terp
                                            $50.00Sugar 1g, Unit                   $35.00                     $30.00                      $35.00
Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 42 of 51 Page ID #:42




 Concentrates                       Cartridge                  Cartridge                       Vape Pens
 Big Gas Animal Cake Live           Big Gas Animal Cake LRC    Big Gas Animal Cake LR          Big Gas - Animal Cakes
 Resin Cart .5g, Unit               .5g                        .5G Cart                        .5g Live Resin Cartridge
 $35.00                             $40.00                     $40.00                          $35.00




 Cartridge                          Concentrates               Cartridge                       Concentrates
 Big Gas      -   Animal Cake LR    Big Gas Animal Cake Live   Big Gas - Animal Cake LR        Big Gas Animal Cake .5G
 - .5g                              Resin Cart .5g, Unit       Cart - .5g                      LR Wax
 $40.00                             $35.00                     $40.00                          $35.00




 Cartridge                          Cartridge                  Concentrates                    Cartridge
 Big Gas I Animal Cake              (MED) Big Gas Animal
                                                   |           Big Gas - Animal Cake       -   Big Gas - Animal Cake -
 Live Resin Cartridge I .5g         Cake Live Resin Cart .5g   Live Resin - .5g                Live Resin 510 Cart - .5g
 $45.00                             $40.00                     $40.00                          $45.00




 Cartridge                          Cartridge                  Cartridge                       Cartridge
 (MEDICAL) Big Gas         |        Big Gas Animal Cake 0.5g   (MED) Big Gas Animal
                                                                                |              Big Gas - Animal Cakes
 Animal Cake Live Resin             LR Vape Cart               Cakes Live Resin Cart .5g       0.5g Live Resin Cartridge
 Cart
 $39.62.5G
       |                            $40.00                     $40.00                          $35.00




 Cartridge                          Cartridge                  Cartridge                       Cartridge
 Big Gas - Animal Cake              (MED) Big Gas Animal       (REC) Big Gas Animal            Big Gas - Animal Cake .5g
 Live Resin .5g Cart                Cakes Live Resin           Cakes Live Resin                Live Resin Vape Cart
 $35.00                             Cartridge
                                    $40.00                     Cartridge
                                                               $50.00                          $35.00




 Cartridge                          Cartridge                  Concentrates
 Big Gas Animal Cake Live
              |                     Big Gas - Animal Cake      Big Gas Animal Cake .5g
                                                                           |           |


 Resin Cart | .5g                   Live Resin .5g Cartridge   Live Resin Cart
 $35.00                             $35.00                     $40.00



 Did you find what you were looking for?

        Yes                    No

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                                                                                                                                                                     Log   in   Sign up

            Dispensaries     Deliveries     Maps   Products   Deals        Learn         Strains

       Roots Dispensary



                                                              Flower

                                                              Wunderland Garanimals 4g 10 Pack Pre-roll
                                                                           Pickup   at   Roots Dispensary


                                                              $34.00            each

                                                              Quantity

                                                                            1




                                                                           Add to cart


                                                                       Favorite                    Share




                                                                                                                         Get mobile
                                                                                                                              iOS                 Android




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                                                                                                                                                                                     Log   in   Sign up

                  Dispensaries     Deliveries    Maps       Products   Deals            Learn      Strains   Order online


Showing     7   results for "garanimals"

Categories
                                                                               Save cash
All Products                                                                                                                                                                     Find deals
Flower                                                                         See today's deals

Brand verified
                                                 100 miles        Clear filters
   Brand verified

Order online

   Order pickup
   Order delivery

Distance

    1 mile                                       Flower                                            Flower                              Flower                              Flower
    5 miles                                      Garanimals                                        Garanimals                          Garanimals Connoisseur              GARANIMALS
    20 miles                                     $17.34 – $190.79                                  $14.00 – $250.00                    Cannabis $12                        $7.35 – $328.58
                                                                                                                                       $12.00 – $245.00
    50 miles
    100 miles


Amenities

   Curbside pickup

Genetics

   Indica
   Hybrid
                                                 Flower                                            Flower                              Flower
Effects                                          Garanimals - Trim                                 Garanimals                          Garanimals - Connoisseur
                                                 $2.07 – $77.91                                    $35.00                              Cannabis
   Happy                                                                                                                               $12.00 – $275.00
   Relaxed
   Sleepy
   Tingly                                        Did you find what you were looking for?

Flavors                                                   Yes                  No

   Berry                                         Help us improve our search accuracy and how our customers shop for cannabis.
   Earthy
   Sweet
   Pungent

Terpenes

   Myrcene
   Caryophyllene
   Humulene

Moods & activities

   Liftyour spirits
   Sleep soundly

Cannabinoids

   THC

Business Type

    Any
    Storefronts
    Delivery
    Mail Order
    Doctors
    CBD Stores


Price Range

    Any
    Under $25
    $25 to $50
    $50 to $100
    $100 to $200
    $200 and over


Weight

    Any
    Each
    0.5 grams
    1 gram

    2 grams
    1/8 oz
    1/4 oz
    1/2 oz
    1 oz




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                                                                                        Advocacy                     Nearby deals                  Add   a   business
                                                                                        Sitemap                      Brands                        Developers
                                                                                                                     Strains
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                                                                                                                                                                             2
                                                                                                                                                                                       Log   in         Sign up

                  Dispensaries     Deliveries    Maps       Products     Deals            Learn      Strains   Order online


Showing     7   results for "garanimals"

Categories                                       100 miles        Clear filters

All Products
Concentrates
Flower

Brand verified

   Brand verified

                                                 Budder                                              Budder                              Crumble                             Infused Pre Roll
Order online                                     CBDiscovery       -   Purple                        Purple Garanimal CBD                CBDiscovery - Purple                CBDiscovery          -   Fruit Loops
                                                 Garanimal                                           Discovery                           Garanimal - Crumble                 x Garanimals         -   Infused
   Order pickup                                                                                                                                                              PreRoll
                                                 $24.00                                              $20.00                              $18.00                              $16.00
   Order delivery

Distance

    1 mile
    5 miles
    20 miles
    50 miles
    100 miles


Amenities                                        Concentrates                                        Concentrates                        Concentrates
                                                 Purple Garanimal Wax by                             PURPLE GARANIMAL by                 BHO Purple Garanimal
   Curbside pickup                               cbd discovery                                       CBDISCOVERY                         #48401
                                                 $20.00                                              $24.00                              $20.00
Genetics

   Indica
                                                 Did you find what you were looking for?
Strains
                                                          Yes                    No
   Fruit Loops
                                                 Help us improve our search accuracy and how our customers shop for cannabis.

Business Type

    Any
    Storefronts
    Delivery
    Mail Order
    Doctors
    CBD Stores


Price Range

    Any
    Under $25


Weight

    Any
    Each
    1 gram




                                                                                          Company                      Discover                      Business                      Legal
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                      EXHIBIT 2
   Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 48 of 51 Page ID #:48




      MARK             APP. NO.     REG. NO.                  GOODS AND SERVICES
                      APP. DATE    REG. DATE
EASY-PEASY BY      App 97022900                IC 24 BATH LINEN; BED BLANKETS; BED LINEN; CRIB
GARANIMALS         App September               BUMPERS; HOUSEHOLD LINEN; SWADDLING BLANKETS.
                   15, 2021
EASY-PEASY BY      App 97022387                IC 18 BACKPACKS; KNAPSACKS; UMBRELLAS; WALLETS;
GARANIMALS         App September               ALL-PURPOSE CARRYING BAGS; CHANGE PURSES; DUFFLE
                   15, 2021                    BAGS; FANNY PACKS; TOTE BAGS.
EASY-PEASY BY      App 97022381                IC 25 FOOTWEAR; HEADWEAR; HOSIERY; SLEEPWEAR;
GARANIMALS         App September               BOTTOMS AS CLOTHING; TOPS AS CLOTHING.
                   15, 2021
GARANIMALS         App 90432856                IC 35 ON-LINE RETAIL STORE SERVICES FEATURING
                   App December                APPAREL, FOOTWEAR, CARRYING BAGS, HOUSEHOLD
                   30, 2020                    LINEN, TOYS, GAMES AND PUZZLES
GARANIMALS READING App 90298646                IC 41 PROVIDING ONLINE INFORMATION IN THE FIELD OF
ZOO                App November                EDUCATIONAL PUBLICATIONS ABOUT ANIMALS;
                   4, 2020                     PROVIDING ON-LINE NON-DOWNLOADABLE
                                               PUBLICATIONS, NAMELY, BOOKS, NEWSLETTERS AND
                                               MAGAZINES IN THE FIELD OF ANIMALS
365 KIDS           App 90298366                IC 9 SUNGLASSES
FROM GARANIMALS    App November                IC 14 RINGS, BRACELETS, NECKLACES, JEWELRY BOXES
                   4, 2020                     IC 18 BAGS, NAMELY, SPORTS BAGS, BACKPACKS, PURSES,
                                               ALL-PURPOSE CARRYING BAGS, AND UMBRELLAS
                                               IC 25 HEADBANDS
                                               IC 26 BARRETTES AND HAIR CLIPS
GARANIMALS WE GO   App 88833017                INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS;
TOGETHER           App 13-MAR-                 CLOTHING, NAMELY, ONE PIECE GARMENTS FOR
                   2020                        CHILDREN
                   App 88816999                INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS;
                   App 02-MAR-                 CLOTHING, NAMELY, ONE PIECE GARMENTS FOR
                   2020                        CHILDREN
                   App 88817010                INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS;
                   App 02-MAR-                 CLOTHING, NAMELY, ONE PIECE GARMENTS FOR
                   2020                        CHILDREN
                   App 88817070                INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS;
                   App 02-MAR-                 CLOTHING, NAMELY, ONE PIECE GARMENTS FOR
                   2020                        CHILDREN
                   App 88817094                INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS;
                   App 02-MAR-                 CLOTHING, NAMELY, ONE PIECE GARMENTS FOR
                   2020                        CHILDREN
    Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 49 of 51 Page ID #:49




       MARK             APP. NO.       REG. NO.                  GOODS AND SERVICES
                       APP. DATE      REG. DATE
                     App 88817121                 INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS;
                     App 02-MAR-                  CLOTHING, NAMELY, ONE PIECE GARMENTS FOR
                     2020                         CHILDREN
                     App 88817137                 INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS;
                     App 02-MAR-                  CLOTHING, NAMELY, ONE PIECE GARMENTS FOR
                     2020                         CHILDREN
                     App 88695065                 INT. CL. 16 A SERIES OF CHILDREN'S BOOKS
                     App 16-NOV-                  INT. CL. 18 ACCESSORIES, NAMELY, TOTE BAGS,
                     2019                         BACKPACKS, FANNY PACKS, MESSENGER BAGS,
                                                  HANDBAGS, WALLETS, KNAPSACKS, CHANGE PURSES,
                                                  DUFFLE BAGS, BEACH BAGS, AND UMBRELLAS
                     App 87898875   Reg 5938926   INT. CL. 25 CLOTHING, NAMELY, ONE PIECE GARMENTS
                     App 28-APR-    Reg 17-DEC-   FOR CHILDREN; CLOTHING, NAMELY, TOPS AND BOTTOMS
                     2018           2019

GARANIMAL CRIBSIES   App 86559641   Reg 5023392   INT. CL. 25 INFANT BODYSUITS; INFANT ROMPER SUITS
                     App 10-MAR-    Reg 16-AUG-
                     2015           2016
CRIBSIES BY          App 86559662   Reg 5023393   INT. CL. 25 INFANT BODYSUITS; INFANT ROMPER SUITS
GARANIMALS           App 10-MAR-    Reg 16-AUG-
                     2015           2016
BABY BASICS FROM     App 85847336   Reg 5041381   INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS
GARANIMALS           App 12-FEB-    Reg 13-SEP-
                     2013           2016
                     App 85822956   Reg 4573171   INT. CL. 25 CLOTHING, NAMELY, TOPS, BOTTOMS
                     App 14-JAN-    Reg 22-JUL-
                     2013           2014

                     App 85822988   Reg 4889844   INT. CL. 25 CLOTHING, NAMELY, TOPS, BOTTOMS
                     App 14-JAN-    Reg 19-JAN-
                     2013           2016
365 KIDS FROM        App 85980144   Reg 4430103   INT. CL. 25 CLOTHING, NAMELY, TOPS, BOTTOMS,
GARANIMALS           App 28-NOV-    Reg 05-NOV-   SWEATSHIRTS AND HOODIES; SLEEPWEAR
                     2012           2013
EVERYDAY             App 85736972   Reg 4472043   INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS
GARANIMALS           App 24-SEP-    Reg 21-JAN-
                     2012           2014
GARANIMALS           App 85736979   Reg 4467507   INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS
EVERYDAY             App 24-SEP-    Reg 14-JAN-
                     2012           2014
   Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 50 of 51 Page ID #:50




      MARK           APP. NO.       REG. NO.                  GOODS AND SERVICES
                    APP. DATE      REG. DATE
                  App 85392470   Reg 4238802   INT. CL. 25 CLOTHING, NAMELY, TOPS, BOTTOMS AND
                  App 08-AUG-    Reg 06-NOV-   FOOTWEAR
                  2011           2012
                  App 85392495   Reg 4238803   INT. CL. 25 CLOTHING, NAMELY, TOPS, BOTTOMS AND
                  App 08-AUG-    Reg 06-NOV-   FOOTWEAR
                  2011           2012
                  App 85183797   Reg 4191352   INT. CL. 16 CHILDREN'S BOOKS, CHILDREN'S ACTIVITY
                  App 23-NOV-    Reg 14-AUG-   BOOKS, BOOKS THAT CAN BE USED IN THE BATH
                  2010           2012          INT. CL. 24 BEDDING, NAMELY, BED SHEETS,
                                               COMFORTERS, BLANKETS, RECEIVING BLANKETS, PLUSH
                                               BLANKETS, FLANNEL BLANKETS, SWADDLE BLANKETS;
                                               THROWS, CRIB BUMPERS, BASSINET SHEETS, SHEET
                                               SAVERS, MATTRESS PADS, FABRIC VALANCES, FABRIC
                                               DIAPER STACKERS
                                               INT. CL. 25 FOOTWEAR; SHOES, ATHLETIC SHOES,
                                               SANDALS, SLIPPERS, HOSIERY, SOCKS, TIGHTS, LEG
                                               WARMERS, LEGGINGS; CHILDREN'S AND INFANTS' CLOTH
                                               BIBS
GARANIMALS BABY   App 77956700   Reg 4050024   INT. CL. 24 CLOTHS, NAMELY, FACE CLOTHS, WASH
BASICS            App 11-MAR-    Reg 01-NOV-   CLOTHS; CHILDREN'S BLANKETS, RECEIVING BLANKETS
                  2010           2011          AND HOODED TOWELS
                                               INT. CL. 25 CLOTHING, NAMELY, TOPS, BOTTOMS, BABY
                                               BODYSUITS, GOWNS, SOCKS, HATS, MITTENS, BIBS NOT OF
                                               PAPER
GARANIMALS        App 77979530   Reg 3823199   INT. CL. 28 TOYS, GAMES AND PLAYTHINGS, NAMELY,
                  App 18-SEP-    Reg 20-JUL-   STUFFED TOYS, PLUSH TOYS, BEAN BAG PLUSH, PUPPETS,
                  2008           2010          TOY PLASTIC FIGURES, PLASTIC PLAYSETS FOR USE IN THE
                                               BATH OR AT THE BEACH, PLASTIC PLAYSETS, NAMELY,
                                               PLASTIC SHAPE SORTERS, PLASTIC STACKING BLOCKS,
                                               LEARNING TOYS, PULL TOYS, MUSICAL TOYS, BOARD
                                               GAMES, CARD GAMES, MATCHING GAMES, PUZZLES, TOY
                                               BUILDING BLOCKS, TOY SOFT BLOCKS
                  App 77570759   Reg 3803956   INT. CL. 25 FOOTWEAR
                  App 16-SEP-    Reg 15-JUN-
                  2008           2010
                  App 77981916   Reg 3994760   INT. CL. 25 SWEATERS, JEANS, BATHING SUITS,
                  App 19-SEP-    Reg 12-JUL-   SWIMWEAR, SLEEPWEAR, LEOTARDS, TIGHTS, ROMPERS,
                  2007           2011          UNDERWEAR, HOSIERY
   Case 8:21-cv-01986-JVS-DFM Document 1 Filed 12/03/21 Page 51 of 51 Page ID #:51




      MARK           APP. NO.       REG. NO.                   GOODS AND SERVICES
                    APP. DATE      REG. DATE
                  App 77978022   Reg 3706928   INT. CL. 25 CLOTHING, NAMELY, TOPS AND BOTTOMS,
                  App 19-SEP-    Reg 03-NOV-   SWEATSHIRTS, PANTS, JEANS, SWEATPANTS, SHORTS,
                  2007           2009          LEGGINGS, CAPRIS, DRESSES, HOODS, CREEPERS; AND
                                               FOOTWEAR, NAMELY, SHOES, BOOTS, SANDALS,
                                               SNEAKERS
                  App 73561825   Reg 1393357   INT. CL. 25 CLOTHING, NAMELY, SHIRTS, PANTS, TOPS,
                  App 07-OCT-    Reg 13-MAY-   SHORTS, SKIRTS, DRESSES, SUNDRESSES
                  1985           1986

GARANIMALS        App 73561869   Reg 1393358   INT. CL. 25 CLOTHING, NAMELY, SHIRTS, PANTS, TOPS,
                  App 07-OCT-    Reg 13-MAY-   SHORTS, SLEEPWEAR AND HOSIERY
                  1985           1986

                  App 73250046   Reg 1162044   INT. CL. 25 CLOTHING, NAMELY, PANTS, TOPS,
                  App 13-FEB-    Reg 21-JUL-   COVERALLS, OVERALLS, SUN SUITS, JUMPERS, SMOCKS,
                  1980           1981          SHIRTS, BLOUSES, SHORTS, SKIRTS AND JEANS
GARANIMAL         App 72422254   Reg 0954125   U.S. CL. 39 CHILDREN'S SHIRTS AND PANTS
                  App 24-APR-    Reg 27-FEB-
                  1972           1973
